Fill in this information to identify your case:
Debtor 4 Monica Rene Miranda
First Name Middle Name Last Name.

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: | DISTRICT OF NEW MEXICO

Case number ,
(if known) OO Check if this is an

amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12/15

If you are an individual filing under chapter 7, you must fill out this form if:

I creditors have claims secured by your property, or

a you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below. _ -
Identitvattio.cral ‘

   
 

CONV ig PlOpeLttate

Creditors Nationstar Mortgage dba Mr. CZ Surrender the property. ONo
name: Cooper D Retain the property and redeem it.
Ml yYes
_ C1 Retain the property and enter into a
Description of 6327 Cathy Ave, NE Reaffirmation Agreement.
property Albuquerque, NM 87108 @ Retain the property and [explain]:

Bernalillo County

securing debt:
3 bedroom, 2 bath, subject to

 

 

 

 

lien of $169,628.73 by .
Nationstar Mortgage dba Mr. Keep current on payments without
Cooper reaffirmation
Creditors Reuben G. Gutierrez DDS Profit CO Surrender the property. ONo
name: Sharing CO Retain the property and redeem it.
Yes
_ CO Retain the property and enter into a
Description of Profit-Sharing Plan: Reuben G. - Reaffirmation Agreement.
property Gutierrez, DDS 401(k) Profit I Retain the property and [explain]:
securing debt; Sharing Plan Keep current on payments without
reaffirmation
Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1
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Debtor1 Monica Rene Miranda Case number (if known)

 

 

Creditors Wells Fargo Home Mortgage DZ Surrender the property. HNo
name: C1 Retain the property and redeem it.

CO Retain the property and enter into a O Yes
Description of 7405 Sky Court Cir, NE Reaffirmation Agreement.
property Albuquerque, NM 87110 @ Retain the property and {explain}:

securing debt, Bernalillo County
3 bedroom, 1 bath, subject to ; ;
lien of $136,364.89 by Wells Debtor is attempting to sell property to
Fargo Home Mortgagew investor

 

List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you Ilsted in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it, 11 U.S.C. § 365(p)(2).

 

 

     

[Describalyoumuniexpited personal: propertyiledses maaan a eee BViltnallease belaseumeda
Lessor's name: Comcast 0 No
H Yes
Description of leased Home television and internet service
Property:
GEES Sign Below
Under penalty of perjury, | declare that. h fiGated my intention about any property of my estate that secures a debt and any personal

property that is subject to arrunéxpired lease.

 

 

 

 

X /si Monica Rene Miranda, X
Monica Rene Miranda ~~ ty? Signature of Debtor 2
Signature of Debtor 1
Date May 10, 2019 Date
Official Form 108 Statement of intention for Individuals Filing Under Chapter 7 page 2
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